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   EXHIBIT 1
3/20/2018            Case 1:18-cv-00467-PAC
                 SHAREHOLDER ALERT: Levi & Korsinsky, LLPDocument       4-1 ItFiled
                                                         Notifies Shareholders         03/20/18
                                                                               Filed a Complaint      PageLosses
                                                                                                 to Recover 2 ofSuffered
                                                                                                                 3       by Investors in X…




    SHAREHOLDER ALERT: Levi & Korsinsky, LLP Notifies
    Shareholders It Filed a Complaint to Recover Losses
    Suffered by Investors in Xunlei Limited and Set a Lead
    Plaintiff Deadline of March 20, 2018 -- XNET


     January 19, 2018 12:03 ET | Source: Levi & Korsinsky, LLP

    NEW YORK, Jan. 19, 2018 (GLOBE NEWSWIRE) -- The following statement is being issued by
    Levi & Korsinsky, LLP:

    To: All persons or entities who purchased or otherwise acquired ADSs of Xunlei Limited
    (NASDAQGS:XNET) between October 10, 2017 and January 11, 2018. You are hereby notified
    that Levi & Korsinsky has commenced the class action Dookeran v. Xunlei Limited, et al. (Case
    No. 1:18-cv-00467) in the USDC for the Southern District of New York. Click here to view the
    complaint. To get more information go to:

                                      http://www.zlk.com/pslra-cm/xunlei-limited?wire=3

    or contact Joseph E. Levi, Esq. either via email at jlevi@levikorsinsky.com or by telephone at (212)
    363-7500, toll-free: (877) 363-5972. There is no cost or obligation to you.

    On October 12, 2017, Xunlei introduced its blockchain-based product “OneCoin” to the market.
    The Company’s customers could then receive OneCoin for contributing their bandwidth and
    purchase Xunlei’s products, goods and services using OneCoin.

    The complaint alleges that throughout the Class Period defendants made false and/or misleading
    statements and/or failed to disclose that: (1) Xunlei had engaged in unlawful financial activity; (2)
    OneCoin was a form of disguised Initial Coin Offering; (3) Xunlei was engaged in the promotion of
    an Initial Miner Offering; and (4) as a result of the foregoing, Defendants’ statements about
    Xunlei’s business, operations, and prospects, were false and misleading and/or lacked a
    reasonable basis.

https://globenewswire.com/news-release/2018/01/19/1297913/0/en/SHAREHOLDER-ALERT-Levi-Korsinsky-LLP-Notifies-Shareholders-It-Filed-a-Complaint-to-Recov
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                                                                                                 to Recover 3 ofSuffered
                                                                                                                 3       by Investors in X…

    If you suffered a loss in Xunlei you have until March 20, 2018 to request that the Court appoint
    you as lead plaintiff. Your ability to share in any recovery doesn’t require that you serve as a lead
    plaintiff.

    Levi & Korsinsky is a national firm with offices in New York, California, Connecticut, and
    Washington D.C. The firm’s attorneys have extensive expertise and experience representing
    investors in securities litigation, and have recovered hundreds of millions of dollars for aggrieved
    shareholders. Attorney advertising. Prior results do not guarantee similar outcomes.


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